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                 IN THE DJ,,S    crir, COURT OF THE UNITED STATES .1,..1;#.,j),t._
                     Pbt:#11:1PrAtiDLE DISTRICT OF ALABAMA _& 7)r                           uAz
                                 NORTHERN DIVISION
                       N',W ILI A tu;                                      .e5 61-
    BERNETTA LASW„)%1A§gioi
                    RicT -COURT                           -o) kli"'
        Petitioner,
                                                      /c(\,),)To'
          v.                                             Civil Action
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•   UNITED STATES OF AMERICA,                                             1Sef
                                                                          OIL
          Respondent.



          The Government has filed a response (Doc. # 12) addressing Petitioner's

    § 2255 motion challenging her conviction under Count 28 of the indictment, for

    brandishing a firearm during a crime of violence in violation of 18 U.S.C. § 924(c),

    based on the Supreme Court's recent holding in United States v. Davis, 139 S.Ct.

    2319 (2019). The Government argues that Petitioner is entitled to no relief on her

    motion, because the predicate crime of violence for Petitioner's conviction under

    Count 28, threatening a witness in an official proceeding in violation of 18 U.S.C.

    § 1512(a)(2)(A), plainly requires the use, attempted use, or threat of physical force

    and thus is a crime of violence under the elements clause of 18 U.S.C.

    § 924(c)(3)(A). And the Government argues that Petitioner does not attempt to

    show that her conviction under Count 28 resulted solely from § 924(c)'s residual

    clause, nor can she.
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   Case 2:19-cv-00651-MHT-CSC Document 18 Filed 11/14/19 Page 3 of 19



      Accordingly, it is

      ORDERED that on or before December 2, 2019, Petitioner may file a reply

to the Government's response to. her § 2255 motion.

      DONE this 6th day of November, 2019.



                            /s/ Charles S. Coody
                           CHARLES S. COODY
                           UNITED.STATES MAGISTRATE JUDGE
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      Case 2:19-cv-00651-MHT-CSC Document 18 Filed 11/14/19 Page 4 of 19



         Accordingly, it is

         ORDERED that on or before December 2, 2019, Petitioner may file a reply

  to the Government's response to her § 2255 motion.

         DONE this 6th day of November, 2019.



                               /s/ Charles S. Coody
                              CHARLES S. COODY
                              UNITED STATES MAGISTRATE JUDGE




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